Case 2:19-cv-10110-TGB-RSW ECF No. 13, PageID.157 Filed 05/29/20 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

THERESA LAGATELLA

      Plaintiff,

v.                                                   USDC Case No. 2:19-cv-10110
                                                     Hon: Terrence G. Berg
WAL-MART STORES, INC., a Delaware
Corporation, d/b/a WAL-MART
SUPERCENTER,

      Defendant.




Brian E. Muawad (P41209)                      Richard G. Szymczak (P29230)
Attorney for Plaintiff                        Attorney for Defendant
                                              PLUNKETT COONEY
Brian E. Muawad, P.C.                         38505 Woodward Ave., Ste. 100
22330 Greater Mack Ave.                       Bloomfield Hills, MI 48304
St. Clair Shores, MI 48080                    (810) 342-7007
(586) 778-8570                                rszymczak@plunkettcooney.com


                            STIPULATION OF DISMISSAL
__________________________________________________________________________________________

      The parties hereto, by their respective counsel, hereby stipulate and agree

to the entry of the attached Order dismissing Plaintiff’s action against

DEFENDANT, WAL-MART STORES, INC., a Delaware Corporation, d/b/a WAL-

MART SUPERCENTER, with prejudice and without costs, interest or attorney

fees to any party.
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Brian E. Muawad, P.C.                    PLUNKETT COONEY

By: _/s/ Brian E. Muawad______________   By: /s/ Richard G. Szymczak______
   Brian E. Muawad (P41209)                 Richard G. Szymczak (P29230)
   Attorney for Plaintiff                   Attorney for Defendant


Dated: May 29, 2020
Case 2:19-cv-10110-TGB-RSW ECF No. 13, PageID.159 Filed 05/29/20 Page 3 of 4




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

THERESA LAGATELLA

      Plaintiff,

v.                                                  USDC Case No. 2:19-cv-10110
                                                    Hon: Terrence G. Berg
WAL-MART STORES, INC., a Delaware
Corporation, d/b/a WAL-MART
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                                ORDER OF DISMISSAL
__________________________________________________________________________________________

      Upon the reading and filing of the foregoing stipulation of the parties;

and the Court being otherwise fully advised in the premises;

      IT IS HEREBY ORDERED that this case is                  hereby dismissed with

prejudice and without costs, interests or attorney fees to either party.
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      This is a final order and resolves the last pending claims in this matter

and closes the case.




                                    _/s/Terrence G. Berg_____________________
                                    Hon. Terrence G. Berg
                                    United States District Judge
Dated: May 29, 2020
